Case 1:21-cv-05339-LAK   Document 83-9   Filed 06/24/24   Page 1 of 11




                     Exhibit 9
          Case 1:21-cv-05339-LAK                    Document 83-9              Filed 06/24/24            Page 2 of 11
                                                                                            OEL2002.B-1886-99 - SKM2002.313.ØLROE


OEL2002.B-1886-99                                                        Nielsen ApS. Det engelske selskab var ejet af Nielsen ApS. Det
SKM2002.313.ØLR                                                          engelske selskab er efterfølgende blevet opløst uden nogensinde
TfS 2002, 617                                                            at have selvangivet indtægter.
                                                                           Det er endvidere oplyst, at klageren var direktør i Nielsen ApS
                                                                         og dette selskabs datterselskab Danish Air Service ApS, at begge
Østre Landsrets dom af 24. maj 2002, j nr. B-1886-99                     selskaber drev virksomhed fra Roskilde Lufthavn inden for
(landsdommerne V. Rønne, Plessing og Lone Kerrn-Jespersen (kst.)).       luftfartsbranchen med bl.a. undervisning-, mægler-, udlejnings- og
                                                                         konsulentvirksomhed, og at Danish Air Service ApS endvidere har
Gert Rolien Bach Nielsen (Advokat Michael H. Steffensen v/adv.           haft autorisation til taxa-flyvning, pilotuddannelse og
Jens Ravnkilde)                                                          flyvevedligeholdelse. Det engelske selskab Nielsen (UK) Limited
mod                                                                      har været tilknyttet Nielsen ApS og Danish Air Service ApS.
Skatteministeriet (Ka. v/advokat Martin Henrichsen, prøve)                 Det er endelig oplyst, at den stedlige skattemyndighed midt i 1993
                                                                         modtog 5 kontrolbilag vedrørende honorarindtægter fra to selskaber
Forældelse af skattekrav - 1908-loven                                    Jetair ApS og Flemming Frandsen Aircraft Sales ApS, at 4 bilag
                                                                         var udfaktureret af Nielsen (UK) Limited og 1 bilag var udfaktureret
  ♦ Sagen vedrører, om betaling i henhold til en række fakturaer         af Nielsen ApS, og at skattemyndigheden den 7. april 1995
    skulle      beskattes   som       maskeret     udlodning    til      forhøjede klagerens indkomstansættelser for 1989, 1990 og 1991
    hovedanpartshaveren, jf. ligningslovens § 16 A. Sagen vedrører       med alle honorarindtægterne, idet klageren blev anset for rette
    endvidere, om skattekravene var forældede efter 1908-loven           indkomstmodtager. Indkomstansættelserne blev efterfølgende
    om forældelse. Landsretten fandt, at skattekravet var forældet       genoptaget, idet der var begået en talfejl i indkomstansættelsen for
    , idet skattemyndighederne ved modtagelse af oplysninger fra         1991. I denne forbindelse blev det godtgjort, at et honorar på 50.000
    de engelske skattemyndigheder den 25. maj 1994 fandtes at            USD var indtægtsført i Nielsen ApS, hvorfor klagerens
    have tilstrækkeligt grundlag for at gøre krav gældende, medens       indkomstansættelser i skatteforvaltningens afgørelse af 7. oktober
    stævning først er indleveret den 30. juni 1999. Ministeriet          1996 alene er forhøjet med de 4 honorarer, der er udfaktureret af
    fandtes ikke at have godtgjort, at der i efteråret 1995 blev         Nielsen (UK) Limited.
    indgået aftale om henstand med betaling af skatterne.                  De stedlige skattemyndigheder har til støtte for de foretagne
                                                                         ansættelser anført, at man har foretaget en grundig undersøgelse,
                                                                         af hvorvidt honorarerne skulle være indtægtsført i et eller flere af
  ♦    Sagen drejer sig om, hvorvidt skattekrav var forældede            klagerens selskaber, at honorarerne ikke kan konstateres
      efter 1908-loven. Skattemyndighederne havde anset en               indtægtsført i nogen af disse selskaber, at fakturabeløbene er
      hovedanpartshaver for skattepligtig af maskeret udlodning          afregnet fra de to selskaber i Roskilde Lufthavn, og at alle
      for indkomstårene 1989-1991. Landsretten lagde til grund,          oplysninger peger på klageren som rette indkomstmodtager af
      at skattemyndighederne i 1993 og 1994 fik kendskab til             honorarindtægterne.
      forholdet og på dette tidspunkt kunne gøre krav gældende             Myndighederne har fremhævet, at klageren, ved at lade sit
      mod hovedanpartshaveren. Da stævning var indleveret i              engelske selskab fremtræde som modtager af honorarindtægterne,
      1999, tiltrådte landsretten hovedanpartshaverens principale        har søgt at holde indtægterne skjult for skattemyndighederne, og
      påstand og anså skattekravene for forældede efter 1908-            at det er ved en tilfældighed, at myndighederne er kommet i
      loven.                                                             besiddelse af oplysninger til at foretage korrekte skatteansættelser.
Østre Landsret                                                           De påklagede ansættelser er derfor foretaget rettidigt, jf.
Under denne sag, der er anlagt den 30. juni 1999 har sagsøgeren,         skattestyrelseslovens § 35, stk. 3 (nu stk. 4).
Gert Rolien Bach Nielsen, endeligt nedlagt påstand om, at sagsøgte,        Klagerens advokat har nedlagt påstand om, at
Skatteministeriet, skal anerkende principalt, at skattekravene           indkomstansættelserne for 1989, 1990 og 1991 nedsættes til det
vedrørende indkomstårene 1989, 1990 og 1991 er forældede;                selvangivne. Til støtte herfor har advokaten anført, at honorarerne
subsidiært, at ansættelsen af sagsøgerens indkomst for                   ikke er blevet tilegnet af klageren, men er oppebåret af de af ham
indkomstårene 1989, 1990 og 1991 skal nedsættes til det                  ejede selskaber. Ansættelserne for indkomstårene 1990 og 1991 er
selvangivne, således at kapitalindkomsten i 1989 nedsættes med           som følge heraf ugyldige i medfør af den dagældende bestemmelse
42.855 kr., kapitalindkomsten i 1990 med 162.775 kr. og                  i skattestyrelseslovens § 35, stk. 1, idet fristen ikke er suspenderet
udbytteindkomsten i 1991 med 133.250 kr.                                 i medfør af den dagældende bestemmelse i skattestyrelseslovens §
  Sagsøgte, Skatteministeriet, har endeligt nedlagt påstand om           35, stk. 3.
frifindelse.                                                               Advokaten har endvidere anført, at de omhandlede fakturaer
  Landsskatteretten afsagde den 13. april 1999 kendelse vedrørende       vedrører consulting fees i forbindelse med køb, salg og indchartning
sagsøgerens skatteansættelse for årene 1989, 1990 og 1991. I             af fly, at Jetair ApS og Flemming Frandsen Aircraft Sales ApS, i
kendelsen og denne dom omtales blandt andet et dansk selskab ved         forbindelse med salg af fly, har indgået aftale med Nielsen ApS og
navn Nielsen ApS. Selskabets fulde navn er Anpartsselskabet              Danish Air Service ApS om at chartre flyene i de perioder, hvor
Nielsen af 14. september 1984. Selskabet omtales også som                køberen ikke har kunne anvende flyene, og at køberne herved har
Nielsens ApS. Landsskatterettens kendelse er sålydende:                  kunnet begrænse driftsudgifterne. Som vederlag for at chartre flyet
  "Sagen har været forhandlet med klageren og hans advokat, der          har Nielsen ApS og Danish Air Service ApS modtaget et vederlag
endvidere har haft lejlighed til at udtale sig under et retsmøde.        fra sælgeren til uddannelse og træning af piloter. Den foretagne
  Det er oplyst, at klageren, der er bosiddende i England, i de          fakturering fra Nielsen UK Ltd. skete alene for ikke at åbenbare
omhandlede indkomstår var ejer af anparterne i selskabet Nielsen         forholdet overfor køberen af flyene og de ansatte i Danish Air
ApS, at han endvidere var ejer af en aktie i det engelske selskab        Service ApS. Advokaten har i denne forbindelse påpeget, at Nielsen
Nielsen (UK) Limited, og at Købmandsstandens oplysningsbureau            ApS, Danish Air Service ApS og Nielsen (UK) Limited
har oplyst, at de resterende aktier i det engelske selskab var ejet af   efterfølgende er blevet opløst, at det ikke er muligt at efterprøve,
Copyright © 2021 Karnov Group Denmark A/S                                                                                                side 1
          Case 1:21-cv-05339-LAK                    Document 83-9               Filed 06/24/24            Page 3 of 11
                                                                                             OEL2002.B-1886-99 - SKM2002.313.ØLROE


hvorvidt de omhandlede honorarer er blevet indtægtsført i disse          de danske selskaber. Bevisbyrden er således klagerens.
selskaber, idet selskabernes regnskabsgrundlag ikke længere er           Myndighederne kan ikke gøre mere.
tilgængeligt for klageren. Advokaten har fremhævet, at det er             Advokaten har vedrørende regionens indstilling anført, at man
myndighederne, der skal bevise tesen om, at selskaberne ikke har         må tage afstand til krav om bevisbyrde hos klageren, og at der alene
fået honorarerne, at sagen alene angår bevisvurdering, men at            er tale om teser om, at selskaberne ikke har fået honorarerne.
myndighederne ikke har kunnet konstatere, at beløbene ikke er            Klageren har vanskeligt ved at modbevise myndighedernes påstand,
indtægtsført i selskaberne, hvorfor myndighederne mangler bevis          idet der er tale om konkursramte selskaber.
via bogføringen. Det engelske selskab, som alene har været en art
stråmand, har indtægtsført de pågældende honorarer, og udgiftsført       Landsskatteretten skal udtale:
et tilsvarende beløb, idet honorarerne er viderebetalt til Nielsen         ...
ApS og Danish Air Service ApS. Dette er baggrunden for, at det             Klageren havde dominerende indflydelse i selskabet Nielsen (UK)
engelske selskabs regnskab ikke viser, at der har været nogen            Limited, idet han direkte ejede en aktie i selskabet, og indirekte
omsætning eller dækningsbidrag i de pågældende år.                       ejede de resterede aktier via ejerskabet af Nielsen A/S. Nielsen
  Klageren har supplerende anført, at han ikke har fået de               (UK) Limited, der ikke har selvangivet nogen indtægter, har
omhandlede honorarer, hvorfor beløbene må være indtægtsført i            imidlertid udstedt 4 fakturaer til Jetair ApS og Flemming Frandsen
enten Nielsen ApS eller Danish Air Service ApS, at omsætningen           Aircraft Sales ApS, der havde indgået aftale med Nielsen ApS og
i det engelske selskab ikke fremgår af selskabets regnskaber, der        Danish Air Service ApS om chartring af fly. Fakturaerne omhandler
er udarbejdet pr. 30. september 1989 og 30. september 1990, men          angiveligt ydelser vedrørende denne aftale, der er indgået af to
at selskabets revisor i 1998 er fremkommet med en udtalelse              danske selskaber, hvori klageren havde dominerende indflydelse.
desangående. Klageren har fremhævet, at han via Den Danske Bank            Retten finder, at Nielsen ApS og Danish Air Service ApS må
har modtaget kopi af kontoudtog vedrørende Nielsen ApS og Danish         anses for rette indkomstmodtager af honorarindtægterne, idet
Air Service ApS bankkonti for den omhandlede periode, at han på          selskaberne efter det oplyste havde indgået aftale med Jetair ApS
tidspunkterne for honorarudbetalingerne har udsøgt nogle                 og Flemming Frandsen Aircraft Sales ApS om chartring af fly.
bankindsætninger, men at banken ikke længere er i besiddelse af          Selskabet Nielsen (UK) har således alene kunne fakturere i kraft
underbilag, idet disse makuleres efter 5 år.                             af klagerens dominerende indflydelse i selskaberne. Da selskaberne
  Advokaten har videre anført, at de omhandlede honorarer er betalt      Nielsen ApS, Danish Air Service ApS og Nielsen (UK) Limited
med checks, der alene kan indløses via indsættelse på en bankkonto,      er opløst, og selskabernes regnskabsgrundlag ikke længere er
og at indsætningerne på Nielsen ApS' og Danish Air Service ApS'          tilgængeligt, kan det ikke dokumenteres, at de omhandlede
bankkonti dokumenterer, at beløbene har passeret selskabernes            honorarer er blevet indtægtsført.
bogføring, og dermed er indtægtsført. Advokaten har fremhævet,             Klageren har fremlagt kopier af kontoudtog vedrørende Nielsen
at en check på 25.000 USD udstedt den 19. marts 1990 indgår i en         ApS og Danish Air Service ApS's bankkonti for den omhandlede
indsætning på Nielsen ApS' bankkonto den 22. marts 1990 på i alt         periode. Der findes imidlertid ikke indsætninger svarende til
292.319 kr., at en check på 100.000 kr. udstedt den 18. september        honorarudbetalingerne på disse bankkonti, men der er nogle
1991 indgår i en indsætning på Danish Air Service ApS' bankkonto         indsætninger, der overstiger honorarudbetalingerne. Banken er
den 24. september 1991 på i alt 210.932 kr., og at der således er        imidlertid ikke længere i besiddelse af underbilagene, hvorfor
en nøje tidsmæssig sammenhæng mellem udbetalinger af                     udbetalingerne ikke kan dokumenteres indeholdt i disse beløb.
honorarerne og indsættelsen på selskabernes bankkonti.                     Retten finder at måtte være enig med told- og skatteregionen i, at
  Advokaten har endelig anført, at det ved vurderingen af, hvorvidt      klageren har bevisbyrden for selskabernes indtægtsføring af de
honorarerne er indtægtsført i selskaberne må tillægges vægt, at man      omhandlede honorarudbetalingerne, idet han ikke har kunnet give
nu undersøger forhold, der ligger mange år tilbage i tiden. Klageren     nogen tilfredsstillende forklaring på, hvorfor betalingerne skulle
har vanskeligt ved at modbevise myndighedernes påstand, idet der         ske til selskabet i England. Klageren har selv bragt sig i en situation,
er tale om konkursramte selskaber. Selskaberne blev i øvrigt solgt       hvor han ikke kan dokumentere, at pengene er tilgået de danske
af klageren forud for deres opløsning. Klageren er endvidere ikke        selskaber. Da klageren ikke har løftet bevisbyrden vedrørende de
blevet opfordret til at sikre sig bevis for indtægtsføringen, mens       danske selskabers indtægtsføring af honorarerne, må honorarerne
der stadigvæk var muligt at indhente den underliggende                   anses for en skattepligtig udlodning til klageren, jf. ligningslovens
dokumentation. Myndighederne har derimod haft en skjult                  § 16A, stk. 1.
dagsorden om, at klageren har begået et strafbart forhold omfattet         Retten finder endvidere, at ansættelserne for indkomstårene 1990
af skattekontrolloven eller straffeloven. Myndighederne har således      og 1991 er gyldigt foretaget, jf. skattestyrelseslovens § 35, stk. 1,
ikke givet klageren den fornødne vejledning, ligesom                     idet fristen må anses for suspenderet indtil skattemyndigheden i
myndighederne ikke har foretaget de fornødne undersøgelser.              1993 modtog de 4 kontrolbilag, jf. den dagældende bestemmelse
  ...                                                                    i skattestyrelseslovens § 35, stk. 3. De påklagede forhøjelser af
  Told- og Skatteregion Nærum har på vegne af Told- og                   klagerens personlig indkomster nedsættes til 0, og i stedet forhøjes
Skattestyrelsen indstillet ansættelserne ændret, således at              klagerens kapitalindkomst for indkomstårene 1989 og 1990 med
honorarerne anses for en skattepligtig udlodning til klageren, jf.       tilsvarende beløb, jf. personskattelovens § 4, stk. 1, nr. 4, samt
ligningslovens § 16A, stk. 1. Til støtte herfor har regionen anført,     skattegodtgørelse heraf, jf. selskabsskattelovens § 17A, hvilket
at det ikke er godtgjort, at de omhandlede honorarer har passeret        Told- og Skattestyrelsen har tiltrådt. For indkomståret 1991 ansættes
de danske selskabers bogføring. De danske selskaber var rette            en tilsvarende udbytteindkomst, jf. personskattelovens § 4a.
indkomstmodtager til honorarerne, der blev faktureret af                   ..."
skuffeselskabet i England. Regionen har fremhævet, at betaling             Supplerende sagsfremstilling.
med frigørende virkning kun kunne ske til det engelske selskab,            Honorarerne.
der blev slettet den 21. januar 1993, og at klageren selv har bragt        Skatteforvaltningen i Gentofte Kommune, hvor sagsøgerens
sig i en situation, hvor han ikke kan dokumentere, at penge er tilgået   selskaber var registeret, fik den 7. juni 1993 tilsendt de 5 fakturaer,
                                                                         der er omtalt i Landsskatterettens kendelse, fra skatteforvaltningen
Copyright © 2021 Karnov Group Denmark A/S                                                                                                 side 2
          Case 1:21-cv-05339-LAK                      Document 83-9              Filed 06/24/24            Page 4 of 11
                                                                                              OEL2002.B-1886-99 - SKM2002.313.ØLROE


i Roskilde Kommune. Fakturaerne var på henholdsvis $ 6.000, $                "Vi kan ikke finde vores gamle sagsakter for Nielsen UK Limited,
25.000, $ 50.000, $ 5.000 og 100.000 kr. Parterne er enige om, at          men kan bekræfte, at forkortede regnskaber er blevet indgivet til
fakturabeløbene i $ svarer til henholdsvis 42.855 kr., 162.775 kr.,        Selskabsregisteret, hvilke regnskaber kun indeholdt en kopi af
286.500 kr. og 33.442 kr.                                                  balancen, og ingen detaljer om selskabets handel.
  Den første faktura, der var på $ 6.000, var udstedt den 30. oktober        Hvis indtægter og udgifter udlignede hinanden i den relevante
1989 til ApS Jet Air. Fakturaen angav at angå honorar i henhold            periode, ville der ikke have været nogen bevægelser på
til aftale af 20. september. Fakturaerne var udført på brevpapir med       resultatopgørelsen (profit and loss account) fra år til år."
følgende bundtekst: "anpartsselskabet Nielsens, h.a. clausensvej             Den tredje faktura, der var udstedt den 31. januar 1991 til Fl.
24, 2820 gentofte ..." Om betaling hed det:                                Frandsen Aircraft Sales ApS, var på $ 50.000 og angik "consulting
  "Betaling kan foretages til vor adresse i Roskilde Lufthavn.             fee OY-JEY-Citation". Beløbet skulle ifølge fakturaen betales til
  Betalingsbetingelser: Netto kontant ved modtagelse af faktura            ApS Nielsen i Roskilde. Sagsøgeren har fremlagt kopi af en check
  Nielsens (UK) Ltd. 9 Churchfields, New Road, East Molesey,               dateret den 6. februar 1991 på $ 50.000 til ApS Nielsen.
Surrey, England."                                                            Den fjerde faktura var på $ 5.000 og udstedt den 13. august 1991
  Den anden faktura, der var udstedt den 16. marts 1990 til                til Jetair att. Flemming Frandsen. Den angik "consulting fee
Flemming Frandsen Aviation ApS, var på $ 25.000 og vedrørte                according to R22 Torben Lindegaard". Nederst på fakturaen var
"consulting fee according to agreement". Med håndskrift var tilføjet       angivet Nielsens UK Ltd. og en underskrift. Fakturaen var udstedt
"provision OYARV". Nederst på fakturaen stod Nielsen UK Ltd.               på fælles brevpapir fra "nielsens (DK) anpartsselskab" og "nielsens
anført med en adresse i England.                                           (UK) limited". På den fremlagte kopi af fakturaen findes et stempel
  Sagsøgeren har fremlagt en kopi af en check dateret den 19. marts        med oplysning om, at den var modtaget den 27. august 1991.
1990 på $ 25.000 til Nielsen UK Ltd. i England. Checken vedrørte             Det fremgår af kontoudtog fra Anpartsselskabet Nielsens af 14.
"consulting fee OY-ARV ... your invoice of march 16 1990".                 september 1984's pengeinstitut, at der den 26. august 1991 blev
Sagsøgeren har endvidere fremlagt et arbitragebilag af 22. marts           indbetalt 134.885,90 kr. helt eller delvis ved check på selskabets
1990, ifølge hvilket Handelsbanken har købt en check på $ 25.000           konto.
for et nettoprovenu på 162.586,67 kr. Endelig fremgår det af et              Den femte faktura var på 100.000 kr. og udstedt den 17. september
kontoudtog fra Anpartsselskabet Nielsens af 14. september 1984's           1991 til Jetair Aircraft Sales. Den angik "consulting fee according
pengeinstitut, at der den 22. marts 1990 blev indbetalt 292.319,40         to OY-ARV". Fakturaen havde samme udseende som den fjerde
kr. ved check.                                                             faktura. Sagsøgeren har fremlagt en kopi af en check på 100.000
  De involverede selskaber havde alle regnskabsår fra den 1. oktober       til Nielsens (UK) Ltd. dateret den 18. september 1991 angående
til den 30. september. De regnskaber, der omtales i det følgende,          "consulting fee according to OY-ARV".
har alle været forsynet med sædvanlig revisionspåtegning.                    Det fremgår af kontoudtog fra Danish Air Service's pengeinstitut,
  Af regnskabet for 1989/1990 for Nielsen ApS og specifikationerne         at der den 24. september 1991 blev indbetalt 210.932,15 kr. ved
til regnskabet fremgår, at nettoomsætningen var på ca. 1,47 mio.           check på selskabets konto.
kr., og at der var salg af varer og tjenesteydelser for 62.738 kr. De        Af Nielsen ApS' regnskab for 1990/1991 fremgår, at
øvrige poster var administrationshonorar datterselskab, udlejning          nettoomsætningen var på ca. 2,17 mio. kr. Af specifikationerne
fast ejendom og udlejning biler og edb.                                    fremgår, at salg af varer og tjenesteydelser var opgjort til 338.009
  Af regnskabet for Danish Air Service for 1989/1990 og                    kr. De øvrige poster var administrationshonorar datterselskab,
specifikationerne hertil fremgår, at selskabets bruttoavance var på        udlejning fast ejendom, udlejning biler og edb og udlejning fly.
ca. 2,65 mio. kr., og at nettoomsætningen var på ca. 10,3 mio. kr.           Af Danish Air Services regnskab for 1990/1991 fremgår, at
Nettoomsætningen bestod af følgende poster: Skoleflyvning og               bruttoavancen var på ca. 2,54 mio. kr. Af specifikationen hertil
instruktion, teoriundervisning, flyudlejning og taxaflyvning, kunst-       fremgår, at nettoomsætningen var på i alt ca. 13 mio. kr., og at
, banner- og fotoflyvning; rundflyvning, maitenance, diverse               posten diverse omsætning var på 1.258.646 kr. De øvrige poster
omsætning, bonus, rabatter og provisioner, gebyrer og materiel til         var skoleflyvning og instruktion, teoriundervisning, flyudlejning,
viderefakturering. Posten vedrørende diverse omsætning var på              taxaflyvning mv., rundflyvning, maintenance, bonus, rabatter og
1.226.207 kr. Posten vedrørende bonus, rabatter og provisioner var         provisioner og gebyrer og materiel til viderefakturering. De to sidste
negativ. Administrationsomkostningerne til moderselskabet var              poster var negative. Der var en note vedrørende indholdet af posten
opgjort til 960.000 kr. Ifølge en note bestod diverse omsætning af         diverse omsætning. Noten var i det væsentlige identisk med noten
"startafgifter, viderefakturering af gebyrer mv., faktureret selvrisiko,   i det foregående regnskab.
salg af undervisningsmaterialer, pilotudleje samt diverse videresalg         Ifølge Luftfartsdirektoratets nationalitetsregister var flyet OY-
mv."                                                                       ARV, som fakturaerne af 16. marts 1990 og 17. september 1991
  I beretningen til regnskabet for 1989/1990 for Nielsens UK Ltd.          angik, registeret med Mackler Totalbyg som ejer den 12. marts
var det under "Principal activity" oplyst, at "the company has not         1990 og derefter den 1. april 1992 med Flemming Frandsen Aircraft
traded during the year". Regnskabet indeholdt "balance sheet", hvor        Sales ApS som ejer.
det under Profit and Loss Account-Deficit var oplyst, at denne var           Der er fremlagt fire rådighedserklæringer, herunder en erklæring
negativ med £ 820. Omsætningen (turn-over) var i regnskabet                af 11. juni 1990, hvorefter ejeren af OY-ARV stillede flyet til
angivet med "-", og det var i en note oplyst, at "the company has          rådighed for Danish Air Service ApS til indtræden på selskabets
not traded". Parterne har været enige om, at dette skal oversættes         taxa-koncession. De øvrige erklæringer var af samme dato og angik
med, at selskabet ikke har haft erhvervsmæssig aktivitet. Regnskabet       henholdsvis OY-JEC, OY-JED og OY-JEE.
for 1988/1989 for det engelske selskab var identisk med hensyn til           Skattevæsenets undersøgelser.
angivelsen af omsætning og oplysning om, at der ikke havde været             Den 12. februar 1993 meldte sagsøgeren flytning til en adresse i
erhvervsmæssig aktivitet.                                                  England med virkning fra den 1. januar 1993. Sagsøgeren indgik
  Sagsøgeren har indhentet en erklæring fra Garners, Chartered             desuden en aftale om udleje af sin andelslejlighed for perioden 1.
Accountants, hvoraf det i en dansk oversættelse, som parterne er           januar 1993 til 1. januar 1996 til selskabet Neilor Ltd, 33 Bridge
enige om, fremgår:
Copyright © 2021 Karnov Group Denmark A/S                                                                                                  side 3
         Case 1:21-cv-05339-LAK                    Document 83-9             Filed 06/24/24            Page 5 of 11
                                                                                          OEL2002.B-1886-99 - SKM2002.313.ØLROE


Road, Hampton Court, East Molesey, Surrey KT 8 9ER. Lejeaftalen          Nielsens (UK) Limited, 33 Bridge Road, East Molesey, Surrey
var underskrevet den 3. januar 1993.                                   KT 8 9ER, England, tlf. nr. ... og
  I oktober 1993 modtog skattemyndighederne efter anmodning til          Nielsens (UT) coporated, ..., USA, tlf. nr. ... samt
Købmandsstandens Oplysningsbureau oplysning om blandt andet              Neilor Ltd., 33 Bridge Road, Hampton Road, Hampton Court,
Nielsens (UK) Ltd. og Neilor Limited. Det fremgik af oplysningerne     East Molesey, Surrey KT8 9 ER, England, jf. lejekontrakten.
vedrørende Nielsens UK, at sagsøgeren var "director" i selskabet,        Førstnævnte selskab er det samme, som formentlig har modtaget
og ejerne var Nielsens (DK) A/S med 7,999 andele og sagsøgeren         honorarindtægterne fra virksomhederne i Roskilde, dog således at
med 1 andel. Af oplysningerne vedrørende Neilor Ltd. fremgik, at       adressen er forskellig angivet. Den her nævnte adresse er identisk
dette selskab havde adresse Hampton Court, 33 Bridge Road, East        med den i lejekontrakten angivne adresse for Neilor Ltd.
Molesey, Surrey, KT8 9PV, og at selskabet var stiftet den 21. maj        Til Deres orientering vedlægges fotokopier af de fra
1992. Kendt "director" var sagsøgeren. Selskabet var ejet af           Købmandsstandens Oplysningsbureau modtagne rapporter
sagsøgeren med 999 andele og af sagsøgerens fader med én andel.        vedrørende de tre udenlandske selskaber.
Som associate companies var angivet Danish Air Service, Nielsens         Det fremgår heraf, at de alle er familieaktieselskaber, samt at de
DK A/S og Desmark (UK) Ltd.                                            to engelske selskaber ejes af Gert Rolien Bach Nielsen og hans nu
  Den 26. januar 1994 anmodede Skattedirektoratet i Gentofte           konkursramte hovedanpartsselskab, og som før nævnt en ubetydelig
Kommune Skatteministeriet, Told- og Skattestyrelsen, om bistand        andel ejes af hans far. Selskabet i USA ejes af Jens Bach Nielsen
med indhentning af en række oplysninger fra udlandet. Skrivelsen       og Børge Andersen, hvilket tyder på at den ene ejer er i familie
var sålydende:                                                         med Gert Rolien Bach Nielsen.
  "...                                                                   ..."
  Baggrund for anmodningen                                               Gentofte Kommune specificerede herefter de ønskede oplysninger
  Roskilde skattevæsen har under en revision udtaget nogle             og anførte, at man ønskede oplyst, om de to selskaber havde været
kontrolbilag vedrørende udbetalte honorarer til det i Gentofte         ansat som selvstændige juridiske enheder, om de havde betalt skat
kommune skatteansatte selskab (til og med skatteåret 1992/93) Aps      til de engelske myndigheder. Endvidere ønskedes det oplyst, om
Nielsen af 14. sept. 1984. Selskabet har udskrevet fakturaer til       de havde indgivet selvangivelser og regnskaber, og i bekræftende
virksomheder i Roskilde på eget brevpapir med fortrykt logo,           fald ønskede man kopi heraf for samtlige år, hvori der havde været
telefonnr. og forneden på dette brevpapir er fortrykt navne på 2       skatteansættelser. Endelig ønskede man oplyst, hvorvidt selskaberne
udenlandske tilknyttede selskaber, et i England og et i USA.           havde ansat personale og rådede over et driftssted, og i bekræftende
  På fakturaerne er med maskinskrevet tekst anført:                    fald ønskedes nærmere oplysninger herom. For så vidt angik
  Nielsens (UK) Limited, 9, Churchfields, New Road, East Molesey,      sagsøgeren personlig ønskede man oplyst, hvorledes han var
Surrey KT8 9 PU, England,                                              registreret hos de engelske myndigheder, såvel i folkeregisteret
  således at man får det indtryk, at de udfakturerede honorarer skal   som skattemæssigt, og hvilken periode han havde været registreret.
tilgå dette selskab i stedet for ApS Nielsen af 14. sept. 1984. Det    Man ønskede endvidere kopi af de oplysninger, han havde givet
forholder sig samtidig således, at den specificerede selvangivne       til skattemyndighederne om sine bopæls- og indkomstforhold og
omsætning i det danske selskab ikke kan indeholde de fra               kopi af eventuel selvangivelse og oplysning om betalte skatter.
virksomhederne i Roskilde udbetalte honorarer.                         Endelig anmodede man om en undersøgelse af hans boligforhold
  Det danske selskab er erklæret konkurs den 4. december 1992.         i England, herunder hvilken type bolig han havde til rådighed,
Samtidig er hovedaktionæren ... Gert Rolien Bach Nielsen ifølge        dennes beliggenhed og ejerforholdet til denne.
folkeregisteret fraflyttet Danmark til samme adresse som ovenfor         Told- og Skat anmodede ved en skrivelse af 23. februar 1994 de
anført vedrørende Nielsens (UK) Limited pr. 1. januar 1993.            engelske myndigheder om at indhente de ønskede oplysninger.
  Det er imidlertid ikke muligt for skattevæsenet at komme i kontakt     Anmodningen om bistand blev besvaret af de engelske
med skatteyderen, idet post til ovenstående adresse kommer retur       myndigheder ved en skrivelse af 25. maj 1994. Besvarelsen var i
med teksten "Gone away, Demenage", som er henholdsvis det              dansk oversættelse, som parterne er enige om, sålydende:
engelske og det franske ord for flyttet.                                 "Jeg henviser til Deres skrivelse af 23. februar 1994, i hvilken De
  Ved fraflytningen fremviste skatteyderen lejekontrakt af 3. januar   anmoder om oplysninger vedrørende ovennævnte. Jeg kan nu
1993, hvoraf det fremgår, at har udlejet sin andelsbolig på            fremkomme med følgende foreløbige redegørelse:
Lindegårdsvej 2, 1. th., 2920 Charlottenlund til et engelsk selskab,     1. Nielsens (UK) Ltd
nemlig:                                                                  Dette selskab blev stiftet den 3. august 1988 under navnet
  Neilor Ltd., 33 Bridge Road, Hampton Road, Hampton Court,            Loadman Ltd. Navnet blev ændret til Nielsen UK Ltd. den 28.
East Molesey, Surrey KT8 9 ER, England.                                september 1988 og Nielsens UK Ltd den 2. november 1988. Denne
  Da Gert Rolien Bach Nielsen stadig er registreret i KTAS som         dato blev også selskabets hjemstedsadresse ændret til 9
bruger af et telefonnummer på Lindegårdsvej 2, samt at hans navn       Churchfields, ... Bach Nielsen havde oprindeligt meddelt, at dette
stadig er opført ud for en trykknap på dørtelefonen, samtidig med      var hans personlige adresse, selv om hans senest kendte personlige
at post ikke kan anbringes på den engelske adresse, anser regionen     adresse var 186 Fleetside, West Molesey, Surrey KT 8 2NH.
det for sandsynligt, at skatteyderen faktisk bor på Lindegårdsvej        Selskabets hjemstedsadresse blev senere ændret til 233 Bridge
2. I den forbindelse bemærkes, at det er oplyst af Købmandsstandens    Road, ... som er forretningsadresse for selskabet Neilor Ltd., jf.
Oplysningsbureau - hvilket vil blive nærmere beskrevet nedenfor        afsnit 2 nedenfor.
- at skatteyderen ejer 999/1000 af Neilor Ltd. Den resterende 1/1000     Nielsens UK Ltd har kun indgivet regnskaber til de engelske
ejes af skatteyderens far.                                             myndigheder for perioden 3. august 1988 til 30. september 1989,
  Gennem Købmandstandens Oplysningsbureau har revisionen               og for det efterfølgende år, der afsluttedes den 30. september 1990,
indhentet oplysninger om de to udenlandske selskaber, således som      men ifølge regnskaberne var der ingen forretningsmæssig aktivitet
de er identificeret i den fortrykte tekst forneden på de modtagne      i selskabet i disse perioder. Kopier af regnskaberne vedlægges. Det
kontrolbilag:                                                          fremgår, at selskabet ikke har haft nogen ansatte eller egne
                                                                       forretningslokaler.
Copyright © 2021 Karnov Group Denmark A/S                                                                                             side 4
          Case 1:21-cv-05339-LAK                    Document 83-9              Filed 06/24/24            Page 6 of 11
                                                                                            OEL2002.B-1886-99 - SKM2002.313.ØLROE


  Da der ikke har været nogen forretningsmæssig aktivitet er             Danish Air Service af 2/6 87 ApS og udenlandske datterselskaber,
selskabet ikke blevet pålignet selskabsskat i UK. Det blev slettet       herunder Nielsens (UK) Limited, Nielsens (UT) Corporated, Neilor
fra selskabsskatteregisteret den 12. januar 1993.                        Ltd. England og Neilor ApS.
  Udover disse oplysninger fra vores akter kan jeg give følgende           Sagsøgerens skatteansættelse for 1989-1991 blev forhøjet med
oplysninger fra Selskabsregisteret, som er offentligt tilgængeligt:      Gentofte Kommunes skrivelse af 7. april 1995 i overensstemmelse
  (a) Bach Nielsen blev udnævnt til eneste "director" i selskabet        med skrivelsen af 17. januar 1995.
       den 23. september 1988. Hans adresse blev oprindelig opgivet        Den 26. juni 1995 rettede sagsøgeren telefonisk henvendelse til
       som HA Clausensvej 27, 2820 Gentofte, Danmark, men blev           Gentofte Kommunes skattedirektorat, idet han oplyste, at han via
       senere opgivet at være Jaegenborg-Alle 27A, 4.th., 2920           sin tidligere ægtefælle først nu var blevet gjort bekendt med
       Charlottenlund, Danmark.                                          skrivelsen af 17. januar 1995 og afgørelsen af 7. april 1995, hvorfor
  (b) Bach Nielsen er angivet som ejer af en af de 8.000 udstedte        han ikke tidligere havde haft mulighed for at gøre indsigelse over
       aktier på hver GBP 1,00 i selskabet, og resten ejes af Nielsens   for forhøjelserne.
       (Denmark) A/S, også med adressen HA Clausensvej 27.                 Efter korrespondance mellem parterne afholdtes et møde den 19.
  ...                                                                    juli 1995 med deltagelse af sagsøgeren og hans revisor, Dan
  3. Gert Rolien Bach Nielsen                                            Malmstrøm.
  Som anført i min skrivelse af 24. februar 1994 har Bach Nielsen          Samme dag skrev revisoren til Skattedirektoratet:
oplyst, at han ankom i UK den 1. januar 1993 og bliver betragtet           "På given foranledning skal jeg herved bekræfte, at selvangivelsen
som bosiddende i UK og pligtig at betale skat i UK fra den dato.         for 1992 forventes indleveret indenfor en måned, og at jeg i løbet
Yderligere undersøgelser vil blive foretaget med hensyn til hans         af 14 dage vil holde Dem orienteret om forløbet.
ejerforhold til ejendomme i UK, og disse oplysninger tillige med           Jeg skal endvidere bekræfte, at det er min opfattelse at ændringerne
kopi af hans første udfærdigede engelske selvangivelse vil blive         for 1989 - 1993 ikke er korrekte, hvorfor jeg på vegne af min klient
fremsendt så hurtigst som muligt, efter at de er blevet tilgængelige.    skal anmode om henstand med betaling af disse beløb til forholdet
  ..."                                                                   er afklaret endeligt. Dette forhold vil De ligeledes løbende blive
  I skrivelsen havde de engelske myndigheder desuden givet en            holdt orienteret om."
række oplysninger om Neilor Ltd. og oplyst, at man ville komme             Skattedirektoratets inkassokontor besvarede den 24. juli 1995
med supplerende oplysninger i form af regnskab og oplysning om           skrivelsen således:
beskaffenhed og ejerforholdet til den adresse, selskabet drev              "Inkassokontoret har modtaget Deres skrivelse af 19/7 1995 hvori
virksomhed fra, ligesom man ville oplyse antallet af ansatte i           De, på Deres klients vegne, blandt andet anmoder om henstand
selskabet.                                                               med betaling af pålydende krav for indkomstårene 1989-1993.
  Ved skrivelse af 8, januar 1995 sendte de engelske myndigheder           Deres anmodning kan besvares, når selvangivelsen for 1992
den endelige redegørelse. Skrivelsen er i dansk oversættelse, som        tilligemed Deres korrektioner vedrørende årene 1989-1993 er
parterne er enige om, sålydende:                                         indsendt.
  "Jeg henviser til Deres skrivelse af 23. februar 1994, i hvilken De      ..."
anmoder om oplysninger vedrørende ovennævnte og min foreløbige             Der er endvidere fremlagt en række af inkassokontorets notater
redegørelse af 25. maj 1994. Jeg kan nu fremkomme med en endelig         eller skærmprint vedrørende blandt andet spørgsmålet om henstand.
redegørelse.                                                             Der er blandt andet tale om følgende notater.
  Der er nu indhentet oplysninger fra tinglysningskontoret                 4. august 1995
vedrørende de 3 adresser, som Nielsen kan forbindes med. Han er            "rev hertil pr tlf. SA/92 samt information vedr 93/94 (skattepl.
dog ikke registreret som nuværende ejer af nogen af disse                her til landet ej afgjort) og klage vedr forhøjelserne 89-91 indsendes
ejendomme, og det er heller ikke tilfældet med de engelske               i uge 33, Der tages så stilling til henstandsanmodningen samt aftales
selskaber, i hvilke han er "director".                                   betaling"
  Oplysningerne indeholder ikke beskrivelser af ejendommene eller          22. august 1995
deres størrelse. Det er dog tydeligt, at ejendommen på 33 Bridge           "kopi af klager vedr 89-91 og SA 92 modt. - talt med Gitte
Road er på 3 etager, af hvilke de 2 øverste er selvstændige              Thuesen i Bodils's fravær, hvilken indflydelse vil det indsendte
lejligheder.                                                             materiale får på restancerne, skal bruges til vurdering af en
  ...                                                                    betalingsmæssig henstandsanmodning. Afvent besked fra 3. ligning"
  Hvad angår selskabet Neilor Limited har vi nu fået oplyst, at alle       28. august 1995
forretningsmæssige aktiviteter er standset, og der er ingen aktiver.       "klage over tax. for 92 behandles af gruppe A"
Selskabet indgav ingen regnskaber, og vi har derfor ikke modtaget          11. september 1995
nogen oplysninger om ansatte. Under disse omstændigheder er det            Bodil inf om, at de tidligere forhøjelser vil blive nedsat således
ikke muligt på nuværende tidspunkt at undersøge dette nærmere.           der totalt er forhøjelse på ca. kr. 200.000,00 - bliver behandlet som
  ..."                                                                   genoptagelsessag derfor pt. ingen mulighed for "henstand" ved
  Skatteansættelsen og spørgsmål om henstand.                            klagebeh. - aftalt jeg retter henv, til rev./CB"
  Den 17. januar 1995 sendte Gentofte Kommune en skrivelse til             ...
sagsøgerens engelske adresse og meddelte, at man på baggrund af            B.B.H. i ligningen forgæves søgt truffet - er der indrømmet
fremkomsten af de 5 fakturaer vedrørende konsulenthonorar agtede         henstand vedr. 92 ??? /CB"
at forhøje hans skatteansættelse for årene 1989-1991 i nærmere             12. september 1995
angivet omfang.                                                            "der er ikke indrømmet henstand - er jo ikke en egentlig klage og
  Skattedirektoratet i Gentofte Kommune har udarbejdet en                der er ikke udsigt til ansættelserne for 92 og frem behandles hurtigt
indledende revisionsrapport dateret den 8. marts 1995 med                - hænger sammen med de øvrige indkomstår/CB"
gennemgang af sagsøgerens indkomst- og formueforhold samt hans             25. september 1995
bopælsforhold. Revisionsrapporten indeholdt endvidere en                   "rev. Dan Malmstrøm inf om, at der ikke er hjemmel til at
gennemgang af selskaberne ApS Nielsen af 14. september 1984,             indrømme henstand begrundet i de nævnte sager i ligningen - det
Copyright © 2021 Karnov Group Denmark A/S                                                                                                side 5
          Case 1:21-cv-05339-LAK                    Document 83-9               Filed 06/24/24             Page 7 of 11
                                                                                             OEL2002.B-1886-99 - SKM2002.313.ØLROE


eneste der herfra kan aftales er en betalingsmæssig henstand, men          Den 18. august 1995 skrev sagsøgerens revisor til kommunens
undertegn. vil alene pt imødekomme at der ikke tvangsinddr. og           skattedirektorat vedrørende fakturaen af 31. januar 1991 på 50.000
under forudsætning af at der fra 011095 afvikles på restancen, aftalt    $:
til kr. 5.000,00/md. /CB"                                                  "I henhold til aftale på vort møde fremsendes hermed yderligere
  5. oktober 1995                                                        dokumentation vedrørende indtægtsførsel af USD 50.000 i
  "CPR AFTALE SLETTET ...                                                Anpartsselskabet Nielsen af 14. september 1984 ApS i
  OO 1156614,00 30000,00 6 4 9 05.03.1996 OPRETTET"                      regnskabsåret 1990/91.
  Sagsøgeren betalte 5.000 kr. den 3. oktober 1995.                        ...
                                                                           I regnskabet indgår provisionen i posten "salg af varer og
                                                                         tjenesteydelser" kr. 338.009. Dette beløb fremkommer således:
                               Provision salg af fly                                                   302.106
                               Konto 120                                                                  1.230
                               Konto 121                                                                 34.235
                               Konto 113                                                                    438
                                                                                                       338.009

..."                                                                       Købere af fly vil ofte gerne have kontakt med en operatør, der har
  Endvidere havde revisoren en række bemærkninger vedrørende             piloter og uddannede teknikere samt de nødvendige tilladelser til
sagsøgerens bopælsforhold.                                               at flyve flyet. Køberen har desuden en interesse i, at flyet bliver
  Ved skrivelse af 7. oktober 1996 meddelte Gentofte Kommune,            udnyttet, idet det også koster penge at have flyet stående på jorden.
Økonomi- og skatteforvaltningen, at man havde ændret sagsøgerens         Sælgeren af et fly tilbyder ikke kun flyet men også en operatør.
skatteansættelse vedrørende 1991 for så vidt angik for meget ansat       Sælgeren vil gennemsnitligt kunne regne med en bedre pris, når
konsulenthonorarer. Ansættelsen blev således nedsat med 286.750          der kan tilbydes en attraktiv operatør. Det er almindelig kendt i
kr. vedrørende fakturaen af 31. januar 1991 på 50.000 $ og med           branchen, at sælgeren betaler et honorar/provision til operatøren
545.000 kr. vedrørende fakturaen af 17. september 1991, der rettelig     og betaler således en del af de udgifter, der er til videreuddannelse
var på 100.000 kr. og ikke på 100.000 $.                                 af piloterne. Flykøberen betaler en årlig afgift og et beløb pr. time
  Skatteankenævnet fastholdt administrationens afgørelse i sagen         flyet er i brug til operatøren. Når efteruddannelse drøftes med en
den 18. september 1997.                                                  pilot, vil piloten have interesse i at få selskabet til at betale så meget
  Forklaringer.                                                          som muligt, medens selskabet gerne vil gøre det så billigt som
  Under domsforhandlingen er der afgivet forklaring af sagsøgeren,       muligt. Hvis piloterne og teknikerne vidste, at en sælger af et fly
Ulla Britta Brasen, Dan Malmstrøm, Niels Martin Nikolaj Victor           betalte provision til selskabet som operatør af flyet, ville de have
og Carsten Bøje.                                                         et bedre udgangspunkt i forhandlingen med Danish Air Service om
  Sagsøgeren har forklaret, at han i 1987 stiftede en flyveklub og       betaling for efteruddannelsen. Det var vigtigt, at fakturaerne blev
sammen med flyveklubbens 5 medlemmer stiftede Danish Air                 udstedt gennem Nielsen UK eller Nielsen DK, da det ikke måtte
Service ApS. I løbet af nogle år overtog han de øvrige                   fremstå sådan, at det havde noget med Danish Air Service at gøre.
anpartshaveres anparter. Selskabet, der i begyndelsen lejede lokaler     På kontoret var der et åbent klubmiljø. Piloterne og teknikerne
i Tune Lufthavn, fik senere egne bygninger i Tune. Selskabet             havde deres daglige gang på kontoret, idet operationshåndbøgerne
beskæftigede sig med tre forretningsområder og havde et Flight           var placeret centralt i kontoret. Det kostede ikke noget at lade
Academy (en flyveskole), en vedligeholdelsesafdeling og en               fakturaerne udstede af det engelske selskab. Provisionerne gik ind
afdeling, der beskæftigede sig med Executive Flight, taxaflyvning,       i den daglige drift. Der er udstedt fem fakturaer vedrørende
rundflyvninger mv. I den forbindelse havde man en kontrakt med           provision til Flemming Frandsen koncernen. Jetair Aircraft Sales
Miljøministeriet vedrørende overvågning af olieudslip. I 1991/92,        var ejet af Flemming Frandsen, der er en af de største flysælgere i
da selskabet var på toppen, havde det koncession til 35                  Norden. Der er ikke udstedt sådanne fakturaer til andre.
flyvemaskiner. Selskabet var ikke ejer af disse fly men havde              Fakturaen af 30. oktober 1989 vedrører tre skolefly OY-JEC, OY-
operatørtilladelse til flyene. En operatørtilladelse har to led; dels    JED og OY-JEE. Flyene blev købt af Kræn Hjortlund. Fakturaen
en koncessionsholder, der kan være en person eller et selskab, dels      må være betalt med en check, idet der ikke er nogen af de
en koncessionsbærer, som er en enkeltperson. Flyoperatøren har           omhandlede honorarer, der er blevet betalt kontant. Han er ikke
en pilot, der kan flyve flyet, og er ansvarlig over for                  klar over, om checken vedrørende denne faktura er blevet indsat
luftfartsmyndighederne, tilknyttet. Der var ca. 50 personer tilknyttet   på Danish Air Services eller Nielsen DK's konto, ligesom han ikke
selskabet. Disse personer, der var selvstændige, var piloter,            er klar over, om bogføringsstemplet på de to fakturaer kommer fra
instruktører og tekniske medarbejdere, hvilket navnlig vil sige          et af hans selskaber.
flymekanikere. Der var to til tre egentlige ansatte i Danish Air           Fakturaen af 16. marts 1990 angår salg af et fly til Mäckler. Det
Service. De beskæftigede sig med administrationen. Virksomhedens         er ikke ham, der med håndskrift på denne faktura har skrevet, at
grundlag var samarbejdet med de tilknyttede piloter og teknikere.        den vedrører OY-ARV. Da checken på $ 25.000 vedrørende denne
Når en pilot skal flyve en ny type fly, skal den pågældende have         faktura blev indsat i banken skete det sammen med andre checks,
en typeuddannelse til dette fly. En typeuddannelse koster 50.000-        hvorfor indsætningen på 292.319,40 kr. er større end checkbeløbet
75.000 kr. for en pilot og 25.000-50.000 kr. for en mekaniker.           på 162.586,67 danske kroner.
Principielt skulle udgiften til videreuddannelse betales af den            Flyet OY-ARV var et mere avanceret fly end Danish Air Service
pågældende selv, men for at få bedst mulige medarbejdere var det         sædvanligvis opererede. Man var ikke operatør på flyet i forvejen.
genstand for forhandling med operatøren om - og i givet fald i             Fakturaen af 13. august 1991 angik en Radisson 22 helikopter.
hvilket omfang - denne skulle deltage i udgiften.                        Der var ikke tale om en operatøraftale men en

Copyright © 2021 Karnov Group Denmark A/S                                                                                                   side 6
          Case 1:21-cv-05339-LAK                     Document 83-9              Filed 06/24/24             Page 8 of 11
                                                                                             OEL2002.B-1886-99 - SKM2002.313.ØLROE


vedligeholdelsesaftale, og man sendte en mand til USA for at få             Fakturaen af 31. januar 1991 på 50.000 $ indgik i regnskabet for
den nødvendige uddannelse til at vedligeholde helikopteren.               1990/91 for Nielsen ApS under salg af varer og tjenesteydelser.
  Fakturaen af 17. september 1991 angik et fly - en PA40 -, der blev      Han husker ikke, hvad konto 120, 121 og 113, som han har omtalt
solgt til Claus Hecht Johansen. Fakturaen angik ikke OY-ARV,              i sin skrivelse af 18. august 1995 vedrørte, men de vedrørte ikke
men Flemming Frandsen ønskede, at dette fly skulle være angivet           provision ved salg af fly. Flyprovisioner blev i regnskabet for
på fakturaen.                                                             Nielsen ApS 1989/90 henført under salg af varer og tjenesteydelser
  Danish Air Service kom i økonomiske vanskeligheder i 1991/92,           eller under en separat post. De øvrige indtægtsposter i regnskabet
og aktiviteterne blev solgt til de nye ejere af Jetair pr. 1. januar      er så specifikke, at det ville være misvisende, hvis sådanne indtægter
1994. Han flyttede til England den 1. januar 1993 og har boet på          indgik under disse. Han har revideret regnskaberne og herunder
tre forskellige adresser i England. Siden 1. april 1994 har han boet      checket bogføringen. Fakturaen på $ 50.000 husker han, fordi den
på samme adresse i London, hvorimod han ikke har boet på                  var så stor. De øvrige fakturaer har han først set under sagen.
Lindegårdsvej, der blev udlejet. I maj eller juni 1995 hørte han via        Niels Martin Nikolaj Victor har forklaret, at han fra 1989 var ansat
sin tidligere ægtefælle om ændringen i skatteansættelsen. Han har         i tre til fire år i Danish Air Service som operationschef. General
ikke aftalt en afdragsordning med skattevæsenet og ikke fået en           Agency-branchen, som Danish Air Service tilhørte, er en speciel
skrivelse om henstand.                                                    del af flybranchen. Han beskæftigede sig blandt andet med at
  Ulla Britta Brasen har blandt andet forklaret, at hun i 1987 blev       bestyre flyparken og bookning af fly. Stillingen var en lederstilling
tilknyttet Danish Air Service ApS og Nielsen DK på fritidsbasis.          med fast løn. Det var normalt, at der blev betalt honorar til
Senere blev hun ansat, og hun fratrådte i august 1990. Hendes             operatøren. Han er ikke klar over, om provisionen skyldtes, at
opgave var at bogføre for de danske selskaber, der havde samme            operatøren medvirkede ved salget, eller om den skyldtes, at
fysiske lokaliteter. Bogføringen skete særskilt i de to danske            vedkommende blev operatør. Han har ikke kendskab til de enkelte
selskaber. Når de danske selskaber modtog en check, blev den af           fakturaer eller bogføringen heraf, men han har haft overordnet
hende sat i banken. Det var hende, der har skrevet fakturaen af 30.       kendskab til, at der faldt provision i forbindelse med operation af
oktober 1989 og sandsynligvis hende, der skrev fakturaen af 16.           fly. Han har heller ikke haft kendskab til, at fakturaerne blev udstedt
marts 1990. Hun har skrevet to sådanne fakturaer. Det kan være            via et engelsk selskab. De tilknyttede piloter og instruktører var
hende, der har sat stemplet vedrørende bogføring på fakturaerne,          selvstændige erhvervsdrivende, der i hvert fald i starten havde job
men det er ikke hende, der har sat det andet stempel med oplysning        i andre selskaber. De var også ofte kunder i selskaberne og gik på
om modtagelsesdato. Hun er ikke klar over, hvorfor der skulle             flyskolen. Piloterne skulle typisk selv betale for deres
betales til det engelske selskab. Det var ikke sædvanligt, at hun         typeuddannelse, men der var en dialog med piloterne om, hvorvidt
udskrev fakturaer for det engelske datterselskab, der var ret nyt.        de beløb, de skulle betale, var rimelige i forhold til indtægterne.
Hun erindrer ikke at have set check på de beløb, der er faktureret        De tilknyttede piloter og teknikere fik ikke kendskab til
af det engelske selskab.                                                  provisionerne, hvilket han fandt meget naturligt. Han har ikke
  Dan Malmstrøm har blandt andet forklaret, at han har været revisor      kendskab til, om denne fremgangsmåde er almindeligt brugt. Der
for sagsøgeren siden 1987. Han var endvidere valgt som revisor            var mange unge piloter, der ikke kunne opnå så høj en løn, og som
for Nielsen ApS og Danish Air Service ApS. Efter at sagsøgeren            havde gæld i forbindelse med deres uddannelse. Hvis de havde
var flyttet til England i 1993 havde han løbende kontakt med ham          kendskab til provisionerne, ville de forlange større honorar.
via mobiltelefon. Selskabernes selvangivelser for 1989-1991 har             Carsten Bøje har blandt andet forklaret, at han er pantefoged i
været indsendt rettidigt. I forbindelse med fremsendelsen af disse        Gentofte Kommune. De skærmprint, der er fremlagt under sagen,
har han gjort en bemærkning om, at spørgsmål i forbindelse med            er inkassokontorets notater vedrørende sagsbehandlingsskridt.
disse kunne rettes til ham. Sagsøgerens selvangivelse for 1992 blev       Enhver debitoraftale noteres i den elektroniske kalender. Om de
indsendt i juli eller august 1995. Sagsøgeren har ikke indleveret         fremlagte skærmprint har Carsten Bøje forklaret:
selvangivelse for 1993. Skattevæsenet, der antog, at sagsøgeren             Ad den 11. september 1995: Der kunne ikke gives ligningsmæssig
var skattepligtig i Danmark, har foretaget en skønsmæssig                 henstand, men inkassokontoret kunne give betalingsmæssig
ansættelse af sagsøgerens indkomst for 1993, hvilket er blevet            henstand. Ligningsmæssig henstand medfører, at man undlader at
tilbageført i 2001. Han har ikke fået et endeligt svar på sin skrivelse   inddrive restancen, så længe en rettidig indgivet klage behandles.
af 19. juli 1995 om henstand med betaling foranlediget af                 Når en aftale om betaling af afdrag i forbindelse med aftale om
skattevæsenets ændringer vedrørende 1989-1993, men han har talt           undladelse af at tvangsinddrive ikke overholdes, går
med Carsten Bøje om en afdragsordning. Han havde alene hjemmel            tvangsinddrivelsen i gang igen.
fra sagsøgeren til at indgå en afdragsaftale vedrørende 1992 men            Ad den 12. september 1995: Der var ikke rettidigt indgivet
ikke vedrørende de andre år, idet sagsøgeren ikke mente at skylde         regnskab for 1992. Da regnskabet kom ind, betragtedes det som
noget vedrørende disse. Restskatten vedrørende 1992 var på ca.            en anmodning om genoptagelse, og derfor kunne der ikke gives
40.000 kr. Det var meningen, at ordningen skulle løbe, indtil             ligningsmæssig henstand.
restskatten for 1992 var betalt. Han er ikke klar over, hvorfor der         Ad den 25. september 1995: Han meddelte, at der ikke kunne
kun blev betalt et afdrag, og han husker ikke, om skattevæsenet i         gives ligningsmæssig henstand, men at der kunne gives en
den anledning rettede henvendelse til ham.                                betalingsmæssig henstand. Han vurderede, at man kunne undlade
  Vedrørende fakturaen af 16. marts 1991 på 25.000 $ skal man             tvangsmæssig inddrivelse under forudsætning af, at der blev betalt
ikke alene se på regnskabet for Nielsen ApS men også på regnskabet        afdrag på 5.000 kr. Der blev med sikkerhed indgået en sådan aftale
for Danish Air Service. Indtægten kan være indtægtsført ved en            med revisor Malmstrøm vedrørende hele restancen for 1989 til
fejl i Danish Air Service og derfor indgået i dette selskabs              1991 på 1.156.614 kr. Aftalen skulle løbe så længe sagerne kørte.
omsætning. Hvis moderselskabet modtog et beløb, som tilkom                Det var forudsat, at der ville gå 6 måneder med
datterselskabet, ville det blive bogført på mellemregningskontoen.        klagesagsbehandlingen. Aftalen blev ikke bekræftet skriftligt. Der
Mellemregningskontoen i 1989/90 regnskabet for moderselskabet,            var ikke tvivl om aftalens indhold. Nu bekræftes aftaler om
der er på 585.000 kr., kan indeholde en lang række posteringer.           afdragsordninger skriftligt, men det var ikke kutyme dengang.


Copyright © 2021 Karnov Group Denmark A/S                                                                                                 side 7
         Case 1:21-cv-05339-LAK                    Document 83-9              Filed 06/24/24            Page 9 of 11
                                                                                           OEL2002.B-1886-99 - SKM2002.313.ØLROE


  Ad den 5. oktober 1995: Aftalen blev indberettet i systemet.            at det af indsætningen på selskabernes bankkonto fremgår, at
Aftaler indberettes for ca. et halvt år, medmindre hele restancen       beløbene har passeret selskabernes bogføring, og dermed er
kan afdrages inden for kortere tid. Beløbet på 30.000 udgør 6           indtægtsført,
måneders afdrag. "9" angiver, at aftalen vedrører alle debitorforhold     at skattemyndighederne allerede henset til det netop anførte ikke
og "4" angiver, at afdragene skal betales månedsvis. Koden "rykker      har løftet bevisbyrden for, at honorarerne ikke er indtægtsført i
beløb" er indsat, da afdraget ikke blev betalt. Han tog ikke kontakt    selskaberne,
med Malmstrøm i anledning af, at betalingsaftalen blev misligholdt.       og at det ved vurderingen af beviserne under alle omstændigheder
Af afdraget på 5.000 kr. blev 100 kr. trukket fra til betaling af       skal tillægges vægt til gunst for sagsøger, at man nu undersøger
tingbogsattest, som inkassokontoret havde rekvireret. Resten blev       anliggender, som grundet skattevæsenets forhold ligger mange år
anvendt til betaling af restskat for 1989. De 200.000 kr. var den       tilbage i tiden.
skønsmæssige forhøjelse af ansættelsen vedrørende samtlige de             For så vidt angår Nielsen UK har sagsøgeren anført, at der efter
skatteår, som var til behandling.                                       engelsk regnskabspraksis ikke er oplyst om omsætningen i
                                                                        regnskabet, men alene at der ikke har været tale om noget
Procedure.                                                              dækningsbidrag.
  Parterne har i det væsentligt procederet i overensstemmelse med         Sagsøgeren       har     supplerende      gjort    gældende,     at
deres påstandsdokumenter.                                               skattemyndighedernes korrektion af selvangivelserne er forældet.
  Sagsøgeren har således til støtte for den principale påstand gjort    Til støtte herfor er det anført,
gældende, at et eventuelt skattekrav er forældet efter 1908-loven.        at sagsøgerens selvangivelser for 1989-1991 var korrekte og
Begyndelsestidspunktet for forældelsen er det tidspunkt, hvor           dækkende,
restskatten for de enkelte skatteår er forfalden. Forældelsesfristen      at skattevæsenet ikke svævede i utilregnelig uvidenhed om
skal således regnes fra den 1. september, 1. oktober og 1. november     kravene, eftersom det angivelige forhold, at de omhandlede
i året efter det pågældende skatteår. Fristen kan senest begynde at     fakturaer først kom for en dag 7. juni 1993, alene beror på
løbe fra det tidspunkt, hvor skattemyndighederne kom i besiddelse       skattemyndighedernes fejl,
af de omhandlede fakturaer, hvilket skete den 7. juni 1993.               og at agterskrivelsen af 17. januar 1995 derfor fremkom for sent.
Forældelse er derfor senest indtrådt den 7. juni 1998. På dette           I øvrigt har sagsøgeren gjort gældende, at sagsøgte har bevisbyrden
tidspunkt kunne skattemyndighederne have foretaget omligning            for alle forhold af betydning for sagen. Til støtte herfor har
og inddrevet kravet. En eventuel udlægsforretning havde afbrudt         sagsøgeren anført, at skattemyndighederne lige fra selvangivelserne
forældelse.                                                             blev indgivet, havde haft de omhandlede fakturaer i sin besiddelse
  Forældelsesfristen løber, uanset om skattekravet er pålignet og       men opdagede dem angiveligt først ved en "revision" 7. juni 1993.
beregnet og suspenderes ikke, medens skattevæsenet forsøger at          Først 13 måneder senere søgte skattemyndighederne at fremskaffe
indhente yderligere oplysninger. Hvorvidt fakturaerne var beskattet     oplysninger fra det britiske skattevæsen, og først 17. januar 1995
i England er uden betydning for den danske skattesag. Det seneste       fremsendte sagsøgte en agterskrivelse, hvorved sagsøgeren fik
tidspunkt en eventuel suspension ophører var den 25. maj 1994,          anledning til at sikre bevis. Grundet dette sløseri er beviser og
da skattevæsenet fik tilsendt regnskaber vedrørende det engelske        bevismuligheder meget muligt gået tabt.
selskab. Det endelige svar fra den 8. januar 1995 er uden betydning       Sagsøgeren har under proceduren gjort gældende, at de streger,
for denne sag. De eventuelle skattekrav er således senest forældet      der ses i det engelske selskabs regnskaber under omsætningen, ikke
den 25. maj 1999.                                                       angiver, at omsætningen har været 0 kr., men er udtryk for at tallene
  Sagsøgeren har supplerende gjort gældende,                            af forretningsmæssige grunde hemmeligholdes.
  at forældelse ikke afbrydes ved skatteyderens udtagelse af              Sagsøgte har over for sagsøgerens principale påstand om
stævning til judiciel prøvelse af ligningen,                            forældelse gjort gældende, at skattekravene vedrørende
  at den blotte anmodning om henstand ikke har virkning som             indkomstårene 1989 - 1991 ikke er forældede efter 1908-loven.
anerkendelse af gælden, når der som i det foreliggende tilfælde           Sagsøgte har erklæret sig enig i, at begyndelsestidspunktet for
samtidig verserer en administrativ klagesag om ligningen,               forældelse af restskattekrav regnes fra forfaldstidspunktet. I denne
  at henstand ikke er meddelt,                                          sag havde sagsøgte imidlertid ikke kendskab til kravene på dette
  at afdragsordningen vedrører en skatterestance for 1992 og derfor     tidspunkt.
er sagen uvedkommende.                                                    Skattemyndighederne var på tidspunktet for honorarbilagenes
  subsidiært at henstandsordningen er misligholdt af sagsøger og        fremkomst den 7. juni 1993 ikke i stand til at afgøre, om
derfor bortfaldet automatisk eller i medfør af stiltiende               skattemyndighederne havde et krav på sagsøgeren eller ej.
overenskomst, med den konsekvens at ordningen kun har                     Skattemyndighederne har derfor forsøgt at kontakte sagsøgeren
suspenderet forældelse igennem et par måneder.                          på den af ham opgivne adresse i England med henblik på at få
  Til støtte for den subsidiære påstand har sagsøgeren gjort            afklaret de nærmere omstændigheder omkring honorarbilagene,
gældende, at honorarerne ikke er blevet tilegnet af sagsøgeren, men     dog uden at det lykkedes at komme i kontakt med sagsøgeren før
er oppebåret af de af ham ejede selskaber Nielsen ApS og Danish         den 27. juni 1995. Som led i undersøgelsen af de faktiske forhold
Air Service ApS. Til støtte herfor har sagsøgeren især anført,          omkring de fremkomne honorarbilag rettede skattemyndighederne
  at skattemyndighederne altid har bevisbyrden for, at en given         den 23. februar 1994 henvendelse til de engelske skattemyndigheder
indtægt er skattepligtig,                                               med henblik på at få en række oplysninger omkring sagsøgeren og
  at de omhandlede honorarer er betalt med checks, der alene kan        dennes selskaber. De engelske skattemyndigheders endelige svar
indløses via indsættelse på en bankkonto,                               forelå den 8. januar 1995. På baggrund af de foregåede
  at sagsøgeren i forbindelse med landsskatteretssagen har fremlagt     undersøgelser og svaret fra de engelske skattemyndigheder udsendte
udskrifter over sine personlige bankkonti, hvoraf fremgår, at           skatteforvaltningen i Gentofte den 17. januar 1995 agterskrivelse
beløbene ikke er indsat dér,                                            om forhøjelse af sagsøgerens skattepligtige indkomst for
                                                                        indkomstårene 1989-1991. Sagsøgte har gjort gældende, at
                                                                        skattemyndighederne som følge af utilregnelig uvidenhed før dette
Copyright © 2021 Karnov Group Denmark A/S                                                                                              side 8
         Case 1:21-cv-05339-LAK                     Document 83-9               Filed 06/24/24             Page 10 of 11
                                                                                              OEL2002.B-1886-99 - SKM2002.313.ØLROE


tidspunkt ikke var i stand til at gøre sit krav op, hvorfor                 Da der ikke foreligger dokumentation for, at honorarerne er blevet
forældelsesfristen efter 1908-loven tidligst kan anses for at løbe        indtægtsført i Nielsens ApS eller Danish Air Service ApS som rette
fra dette tidspunkt.                                                      indkomstmodtager, og da sagsøgeren var eneanpartshaver i
  Sagsøgeren rettede den 19. juli 1995 henvendelse til                    koncernen, skal beløbene beskattes hos sagsøgeren som maskeret
skattemyndighederne og anmodede om henstand med betalingen                udlodning, jf. ligningslovens § 16 A.
af de foretagne forhøjelser, indtil forholdet var endeligt afklaret.        I forhold til sagsøgerens subsidiære påstand har sagsøgte videre
Den 25. september 1995 blev der indgået aftale om henstand under          gjort gældende, at de oprindelige skatteansættelser for
forudsætning af, at sagsøgeren afdragede det udestående skattekrav        indkomstårene 1990 og 1991 som følge af i hvert fald grov
med 5.000 kr. månedligt fra 1. oktober 1995. Sagsøgeren betalte           uagtsomhed hos sagsøgeren, blev foretaget på et urigtigt eller
6. oktober 1995 5.000 kr. i afdrag, hvorefter sagsøgeren ikke har         ufuldstændigt grundlag. Den 3-årige forhøjelsesfrist i
betalt flere afdrag. Da der mellem sagsøgeren og sagsøgte er indgået      skattestyrelseslovens § 35, stk. 1, var i hvert fald indtil det tidspunkt,
en aftale om henstand med betalingen af de omhandlede skattebeløb,        hvor skatteforvaltningen kom i besiddelse af fakturaerne
bevirker denne aftale, at forældelsesfristen blev afbrudt og først        suspenderet i medfør af § 35, stk. 3. Skattemyndighedernes
begyndte at løbe fra henstandens slutning, jf. U 1930.68 H og U           forhøjelse af sagsøgerens skattepligtige indkomst for indkomstårene
1989.1064 H. Henstandsperioden er tidligst ophørt den 1. november         1990 - 1991 ved afgørelse af 7. april 1995 er derfor ikke ugyldig,
1995, og en ny 5-årig forældelsesperiode skal derfor tidligst             jf. skattestyrelseslovens § 35, stk. 1, jf. stk. 3. Skattemyndighedernes
beregnes fra dette tidspunkt.                                             afgørelse af 7. oktober 1996 var en nedsættelse af sagsøgerens
  Sagsøgte har endvidere gjort gældende, at sagsøgerens sagsanlæg         skattepligtige indkomst, hvorfor den efter ordlyden i § 35 ikke er
ved stævning den 29. juni 1999 er egnet til at skabe klarhed over         omfattet af bestemmelsen. Endvidere ligger afgørelsen inden for
kravet, hvorfor der er foretaget retslige skridt i henhold til 1908-      rammerne af den ved agterskrivelsen af 17. januar 1995 bebudede
lovens § 2 inden udløbet af forældelsesfristen efter lovens § 1, jf.      indkomstforhøjelse, da der alene foretages en beløbsmæssig
TfS 1990.120 Ø og 2001.171 Ø.                                             nedsættelse. Forældelsesfristen i skattestyrelseslovens § 35 blev i
  Over for sagsøgerens subsidiære påstand har sagsøgte gjort              forhold til den efterfølgende nedsættelse den 7. oktober 1996 afbrudt
gældende, at sagsøgeren i indkomstårene 1989 - 1991 som følge             ved afgørelsen af 7. april 1995. Reglen i skattestyrelseslovens §
af sit 100 % ejerskab af Nielsens ApS og dermed 100 % ejerskab            35, stk. 1, har ikke virkning for 1989.
af Danish Air Service ApS og Nielsen (UK) Ltd. samt i kraft af sin          Er sagsøgeren kommet i en bevismæssigt vanskelig situation
stilling som direktør i Nielsens ApS og Danish Air Service ApS            uanset at indkomstårene 1989 - 1990 og 1990 - 1991 var omfattet
har haft dominerende indflydelse på, hvilket af selskaberne der           af den 5-årige regnskabsopbevaringspligt på tidspunktet for
skulle udstede de i sagen omhandlede fakturaer.                           agterskrivelsen den 17. januar 1995, beror dette ikke på
  Sagsøgeren er ikke fremkommet med en forståelig og underbygget          myndighedens adfærd, men derimod på sagsøgerens usædvanlige
redegørelse for, hvorfor Nielsens (UK) Ltd. var involveret i              faktureringskonstruktioner via datterselskabet i England.
arrangementet.                                                              Sagsøgte har protesteret imod, at sagsøger først under proceduren
  Til trods for sagsøgtes opfordringer til sagsøgeren om at redegøre      fremsatte anbringende om betydningen af stregmarkeringen i de
for ved navns nævnelse, hvem de omhandlede fakturaer skulle               engelske regnskaber tages under påkendelse.
hemmeligholdes for, er sagsøgeren ikke fremkommet med disse
oplysninger. Den manglende opfyldelse af opfordringen skal                Landsrettens bemærkninger.
tillægges processuel skadevirkning i henhold til retsplejelovens §          Skattemyndighederne fik først den 7. juni 1993 kendskab til de
344, stk. 2, med den konsekvens, at det må anses som                      omhandlede fakturaer, hvorefter der foretoges relevante
udokumenteret, at der har været et forretningsmæssigt formål med          undersøgelser ved indhentelse af oplysninger om de omhandlede
involveringen af Nielsens (UK) Ltd. i fakturering af                      selskaber, herunder ved henvendelse til de engelske myndigheder
honorarbeløbene.                                                          med henblik på konstatering af, om der var et muligt krav på
  Under henvisning til de usædvanlige omstændigheder omkring              restskat.
fakturering via Nielsens (UK) Ltd. og henset til sagsøgerens                Da sagsøgte modtog de engelske myndigheders svar af 25. maj
dominerende indflydelse i kraft af sit 100 % ejerskab af selskaberne      1994, og herunder modtog regnskaberne for det engelske selskab
og sin stilling som direktør i de danske selskaber har sagsøgte gjort     og oplysning om, at det var blevet slettet af selskabsregisteret den
gældende, at bevisbyrden for, at de omhandlede honorarbeløb er            12. januar 1993 fik sagsøgte tilstrækkeligt grundlag for at gøre krav
blevet beskattet i Nielsens ApS eller Danish Air Service ApS              gældende mod sagsøgeren. Sagsøgte findes at have været i
tilkommer sagsøgeren, ligesom det tilkommer sagsøgeren at sikre,          utilregnelig uvidenhed om skattekravene indtil den engelske
at de regnskabsmæssige forhold i selskaberne er i orden, jf. UfR          myndigheders svar af 25. maj 1994 forelå. Den omstændighed at
1998.1538H .                                                              der var tale om en foreløbig rapport fra de engelske myndigheder
  Sagsøgte har endvidere gjort gældende, at det er udokumenteret,         kan ikke føre til noget andet resultat, da de oplysninger, som de
at honorarbeløbene er blevet indtægtsført i Nielsens ApS eller            engelske myndigheder angav, at man senere ville fremkomme med,
Danish Air Service ApS. De fremlagte checkbilag/bankkontoudtog            og som fremkom med de engelske myndigheders skrivelse af 8.
udgør ikke dokumentation for, at honorarbeløbene har passeret             januar 1995, alene angik forhold, der var uden betydning for skatten
Nielsens ApS eller Danish Air Service ApS' bogføring, endsige at          vedrørende de fem fakturaer.
der har fundet indtægtsførsel af beløbene sted i et af de to selskaber.     Sagsøgte har ikke mod sagsøgerens og Dan Malmstrøms forklaring
  Hertil kommer, at sagsøgerens oplysning om, at betalingen               godtgjort, at der i efteråret 1995 blev indgået en aftale om henstand
vedrørende fakturaen af 13. august 1991 er indgået i banken den           vedrørende de omtvistede skattekrav.
26. august 1991 ikke kan passe, idet fakturaen først er stemplet            Da stævning er indleveret den 30. juni 1999, er skattekravene
modtaget af Jet Air 27. august 1991. Endvidere stemmer                    herefter forældede. Sagsøgerens principale påstand tages derfor til
oplysningen i fakturaen af 17. september 1991 om, hvilket fly den         følge.
angik, ikke.


Copyright © 2021 Karnov Group Denmark A/S                                                                                                    side 9
        Case 1:21-cv-05339-LAK                 Document 83-9        Filed 06/24/24   Page 11 of 11
                                                                            OEL2002.B-1886-99 - SKM2002.313.ØLROE


Thi kendes for ret:
Sagsøgte, Skatteministeriet, skal anerkende, at skattekravene mod
sagsøgeren, Gert Rolien Bach Nielsen, vedrørende indkomstårene
1989, 1990 og 1991 er forældede.
 I sagsomkostninger betaler sagsøgte inden 14 dage 21.000 kr. til
sagsøgeren.




Copyright © 2021 Karnov Group Denmark A/S                                                                  side 10
